Berger, lischoff, Shumer, Wexler & Goodman, LLP
Proposed Attomeys for Debtor and

Debtor in Possession

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

X
In re Chapter 11
RUDOLPH W. GIULIANI Case No.: 23-12055
AFFIDAVIT PURSUANT TO
Debtor , RULE 1007-4
x

STATE OF NEW YORK )
COUNTY OF NASSAU)

RUDOLPH W. GIULIANI, being duly sworn, deposes and says:

1. Iam the Debtor herein, and submit this affidavit pursuant to Rule 1007-4 of the Local
Bankruptcy Rules.

2. On December 21, 2023 I filed a voluntary petition for relief from creditors under Chapter
11 of the Bankruptcy Code.

3. There are no prior bankruptcy case filings by this Debtor.

4. The Debtor is an individual.

5. The filing was precipitated by the issuance of a $148 million dollar verdict entered
against the Debtor along with numerous other lawsuits currently pending.

6. lLintend to use the Chapter 11 reorganization process to restructure my finances and
address my financial obligations.

7. ‘There is no pre-petition creditor’s committee.
8. Pursuant to Bankruptcy Rule 1007 and the local rules of this Court the Debtor is required
to file with this petition a list containing the names and addresses of the twenty largest
unsecured creditors (i) excluding those who or which would not be entitled to vote at
creditors meeting under 11 U.S.C. Section 702; (ii) such creditors who are employees of
the Debtor at the time of filing of the petition of reorganization; and (iii) creditors who
are “insiders” as that term is defined in Section 101(25) of the Bankruptcy Code. The
preliminary list of the twenty largest unsecured creditors is annexed hereto.

9. None of the debtor’s property is in the possession or custody of any custodian, public
officer, mortgagee, pledgee, assignee of rents, or secured creditor, or agent for such an
entity.

10. The Debior’s assets will be included on the Debtor’s Schedule B— Personal Property, and

will be timely filed in accordance with the Federal Rules of Bankruptcy Procedure.

11. The Debtor’s assets and liabilities will be listed on the debtor’s Schedules which will! be

timely filed in accordance with the Federa/Rules of Bankruptcy Procedure.

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a day/of Decemfber, 2023

GARY C. FISCHOFF
Notary Public/ Notary Public, State of New York

No. 02F14845533
Qualified in Nassau County
Commission Expires April 16,20, te Y 2b,

